        Case 1:25-cv-10139-LTS             Document 10         Filed 01/21/25        Page 1 of 2




                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS



 STATE OF NEW JERSEY, et al.

                                  Plaintiffs,

         v.                                                         No. 1:25-cv-10139-LTS

 DONALD J. TRUMP, et al.

                                  Defendants.



       MOTION FOR ADMISSION PRO HAC VICE OF SHANNON STEVENSON

        Pursuant to Local Rule 83.5.3, I, Gerard J. Cedrone, a member of the bar of this Court and

counsel of record for Plaintiff Commonwealth of Massachusetts, hereby move the admission pro hac

vice of attorney Shannon Stevenson, a member of the bar of Colorado, to serve as counsel for Plaintiff

Colorado in this matter.

        As set forth in the accompanying certification, Shannon Stevenson is (1) a member in good

standing of the bar of every jurisdiction to which she has been admitted to practice, (2) is not the subject

of disciplinary proceedings pending in any jurisdictions in which she is a member of the bar, (3)

has not previously had a pro hac vice admission to this Court (or other admission for a limited

purpose under Local Rule 83.5.3) revoked for misconduct, and (4) has read and agreed to comply

with the Local Rules of this District.

        WHEREFORE, this Court should admit attorney Shannon Stevenson pro hac vice to the

bar of this Court.
       Case 1:25-cv-10139-LTS   Document 10    Filed 01/21/25    Page 2 of 2




January 21, 2025                       Respectfully submitted.

                                       ANDREA JOY CAMPBELL
                                        ATTORNEY GENERAL OF MASSACHUSETTS

                                        /s/ Gerard J. Cedrone
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                                        Massachusetts




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